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              IN THE UNITED STATES DISTRICT COURT
             EASTERN/WESTERN DISTRICT OF ARKANSAS
                       PINE BLUFF DIVISION

JACK GORDON GREENE                                                 PETITIONER

V.                           CASE NO. 5:04CV00373

DEXTER PAYNE, Director,
Arkansas Division of Correction                                    RESPONDENT


                    MOTION FOR EXTENSION OF TIME

      Comes now the respondent, Dexter Payne, Director, Arkansas Division of

Correction, by and through counsel, Leslie Rutledge, Attorney General, and Karen

Virginia Wallace, Assistant Attorney General, and for this motion, states:

                                         I.

     The response to the petitioner’s motion for relief from judgment is presently

due to be filed with this Court on January 31, 2020. Respondent has received an

extension of 32 days, and now requests an additional seven (7) days, making the

response due February 7, 2020.

                                         II.

      Due to undersigned counsel’s current workload, there is still insufficient

time in which to respond to the issues presented in this motion. The additional

time is needed in order to assure that adequate consideration will be given to the

response. Opposing counsel has been contacted, and he does not object to the
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proposed extension of time. This motion is made in good faith and not for the

purpose of delay.

      WHEREFORE, Respondent respectfully prays that his motion to extend the

time for filing his response be extended an additional 7 days, making the response

due February 7, 2020.

                                      Respectfully submitted,

                                      LESLIE RUTLEDGE
                                      Attorney General

                               By: /s/ Karen Virginia Wallace
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                                      ATTORNEYS FOR RESPONDENT




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